                          Case 2:13-cv-00193 Document 775-36 Filed on 11/19/14 in TXSD Page 1 of 2
    From                                         Burch     Shea

    To                                           praymondjonesnetzero           net

    Sent                                         7102013       85011    AM
    Subject                                      RE      Question on Voter ID




Mr Jones


While        I   understand           your concerns           and respect your desire for alternatives on this issue                    it   is   our Departments

responsibility            to follow             legislative   requirements without         exception        Texas Transportation Code 521A001                                    states

The Department shall issue an election identification                                 certificate     to     a person who states that the person                            is   obtaining        the

certificate            for the   purpose            of satisfying   Section     63001b           Election         Code   and does not have another                          form of

identification            described by Section                  630101 Election Code You have a valid driver license which is a form of
identification            listed      in   the election       code Therefore we are not able to issue you an election certificate


I
    appreciate the opportunity to respond to your request                                   if   you have         additional   questions please              feel         free to       contact

me

Respectfully



Betz Burch

License          and Record           service

Driver License Division

Te ais Department                ofPuhlic           Safety

5I24245457



From praymondjonesnetzeronet   maiItopraymondjonesnetzeronet
Sent Wednesday July 10 2013 623 AM
To Burch               Shea

Subject Re Question on Voter ID


Ms Burch
I   would         like   voter    ID        I    do not want to show         my passport or my Texas driver license because                         of ID theif                     I   am sure
you understand                   so   I    need     to   be able obtain a Texas Election            Identification        Certificate   issued by DPS                        However the
form from DPS says I can not get this form because                                     I   have a form of ID             Please let know          how I can get this type of
TD




From
Phil




                      Original   Message
                 Burch Shea <SheaBurchdpstexas                                 gov>
To     pray           ijones crnetzerocom <pra 1jones cnetzerocom>
Subject               Question on Voter ID                                                                                      2:13-cv-193
                                                                                                                                                     exhibitsticker.com




Date Tue 9 Jul 2013 213217                                  +0000                                                               09/02/2014

Mr Jones                                                                                                                       DEF1473

This                                       your question on how to obtain a Voter ID
                 in                   to
        is            response



Voter registration                and voter registration               certificates   are done through the Secretary                of State or your County Voter

Registration             Officials              You can go online        at wwwsosstatetx            to    fill   out a voter registration        form to print and mail in

  the office Or you may contact your county office for assistance
to                                                                If
                                                                     you are in Dallas County the phone number is
2148196300 and they are located at 2377 North Stemmons Frwy Suite 820 Dallas TX 75207 If you are in Collin
County the phone number is 9725471990                                        and they are located             at 2010    Redbud    Blvd      Suite        102 McKinney                       TX
75069




                                                                                                                                                                                              TEX0507664
                    Case 2:13-cv-00193 Document 775-36 Filed on 11/19/14 in TXSD Page 2 of 2
All   voters are required        to   show photo identification        when    voting in person     Here is a list    of acceptable   forms of

photo ID

Texas driver        license   issued by the Texas Department           of Public Safety     DPS
Texas Election        Identification     Certificate    issued by DPS

Texas personal identification            card issued by DPS

Texas concealed         handgun       license   issued by   DPS
United     States military identification         card containing the persons          photograph

United     States citizenship      certificate    containing the persons        photograph
United     States
                    passport



If   by voter id you were        referring to    the Texas Election      Certificate   issued by our    Agency        these are issued to persons

who do not have another form of photo identification                    acceptable     for election   purposes       Our records indicate you
have a valid       driver   license



I   hope   this   answers     your questions     If
                                                      you have    additional   questions   or need further assistance       please contact   me

Respectfully



Shea Burch
License and RecordService

Driver License        Division

Texas Department            of Public Safe
5124245157




                                                                                                                                                 TEX0507665
